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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 15-21004-CR-ALTONAGA


 UNITED STATES OF AMERICA

 vs.

 STEPHEN COSTA,

       Defendant.
 ______________________________/


                                NOTICE OF APPEARANCE

        The United States of America hereby gives notice of the appearance of Frank H. Tamen as

 counsel for the United States in this case. Previous counsels for the government are no longer

 assigned to this case.

                                                          Respectfully submitted,

                                                          WIFREDO A. FERRER
                                                          UNITED STATES ATTORNEY


                                                   By:    s/ Frank H. Tamen
                                                          FRANK H. TAMEN
                                                          Assistant United States Attorney
                                                          Florida Bar No. 0261289
                                                          99 NE 4th Street, Ste. 700
                                                          Miami, Florida 33132
                                                          Tel: (305) 961-9022
                                                          Fax: (305) 536-7213
                                                          Frank.Tamen@usdoj.gov

                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on January 4, 2016, I electronically filed the foregoing
 document with the Clerk of the Court using CM/ECF.

                                                          s/ Frank H. Tamen
                                                          Frank H. Tamen
                                                          Assistant United States Attorney
